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                The Uighurs, in their own words                          SEARCH

                (//www.longwarjournal.org/archives/2009/04/the_uighurs_in_their.php)
                BY THOMAS JOSCELYN (//WWW.LONGWARJOURNAL.ORG/ARCHIVES/AUTHOR/THOMAS-JOSCELYN) | April
                                                                                                                                US STRIKE DATA (/US-
                21, 2009 | tjoscelyn@gmail.com | @thomasjoscelyn (//twitter.com/thomasjoscelyn)

                                                                                                                                AIRSTRIKES-IN-THE-

                                                                                                                                    LONG-WAR)
                                                                                                                                (/MAPPING-TALIBAN-
                  A Uighur
                terrorist from
                                                                                                                                    CONTROL-IN-
                 a videotape
                 released by
                the Turkistan                                                                                                      AFGHANISTAN)
                Islamic Party
                   last year.

                On Tuesday, April 20, the US Treasury Department added (//www.treas.gov/press/releases/tg92.htm)
                Abdul Haq, the leader of the Eastern Turkistan Islamic Party (“ETIP” ), to its list of designated terrorists.
                The move follows a similar designation (//www.un.org/sc/committees/1267/consolidatedlist.htm) by
                the UN, which placed Haq on its list of persons associated with Osama bin Laden, al Qaeda, or the
                                                                                                                                 (/FOREIGN-PODICY)
                Taliban on April 15.

                Abdul Haq is not widely known in the West, as his terrorist activities have focused largely on China. But
                                                                                                                                 ABOUT FDD'S LWJ
                members of the ETIP, which was previously known as the Eastern Turkistan Islamic Movement (ETIM),
                have fought throughout Central and South Asia alongside Taliban and al Qaeda forces. And Haq’s
                organization gained some notoriety last year when it openly threatened the Olympic Games.                              (/ABOUT)
                Currently, seventeen Uighur men who are suspected members or associates of the organization are
                detained at Guantanamo. Five other Uighurs who were detained at Gitmo were previously released to
                                                                                                                                   Enter your email address
                Albania in 2006. The men are all from China’s Xinjiang region and are alleged to have traveled to
                                                                                                                                to get daily updates from LWJ:
                Afghanistan to join the ETIP/ETIM’s jihad.
                                                                                                                                                      Subscribe
                The Obama administration has expressed its desire to relocate at least some of the current Uighur
                detainees to American soil. But the Treasury Department’s designation may complicate this effort, as at             Delivered by FEEDBURNER

                least ten Uighurs (including two who have been transferred to Albania) have openly admitted their ties            (//FEEDBURNER.GOOGLE.COM)

                to Abdul Haq, as well as another known ETIP/ETIM terrorist named Hassan Mahsum, who was killed in
                Waziristan in October 2003. As the Treasury Department’s designation notes, Haq became the leader of
                the ETIP/ETIM “following the death of the previous ETIP leader” – that is, Mahsum.

                The Uighur detainees admitted their ties to Haq and Mahsum during their testimony at combatant
                status review tribunals (CSRT) at Guantanamo. The Uighurs frequently professed their innocence,
                claiming that they were not targeting Americans and denying that they had anything to do with al Qaeda


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               or the Taliban. But in the context of their denials the Uighur detainees also admitted to training at a
                                                                                                                         Tweets by ​@LongWarJournal
               terrorist camp in the Tora Bora Mountains. That camp was run by Abdul Haq and Hassan Mahsum, and
               was most likely supported by al Qaeda and the Taliban.                                                           Long War Journal
                                                                                                                                @LongWarJournal
               The UN designation notes that Haq is “involved in fundraising and recruitment for” the ETIP/ETIM.
                                                                                                                         Gaza-based militant group Mujahideen Brigades
               This is consistent with the accounts offered by the Uighur detainees. For example, current detainee       publish series "The Beating Heart of a Nation." -
               Bahtiyar Mahnut explained Abdul Haq’s role during one of his CSRT sessions at Guantanamo. Mahnut          longwarjournal.org/archives/2020/…

               lived at the ETIP/ETIM’s Tora Bora training camp for several months in 2001, until the American
               bombing campaign forced him and his fellow Uighurs to flee.

               “The person running the camp was named Abdul Haq, and he was a Uighur,” Mahnut said. Haq oversaw
               Mahnut’s integration into the ETIP/ETIM’s training program. Mahnut explained:

                  “I trained on the AK-47 and physical fitness activities. The first day I came to the camp, Abdul Haq
                  told me that I had to give him my passport and whenever I wanted to leave I could ask for it back.
                  He then took my passport from me. Our clothing and baggage was inside the house at the time.
                  We left everything in the house when we left.”                                                                                                        18h


                                                                                                                                Long War Journal
               The scenario described by Mahnut is consistent with the modus operandi of al Qaeda and the Taliban.
                                                                                                                                @LongWarJournal
               New recruits are frequently commanded to turn over their passports and other identifying information.
                                                                                                                         What You Won’t Learn From the NYT Op-Ed by
               They then take on a new identity as a jihadist committed to the terrorists’ uncompromising ideology.      the Taliban’s Deputy Leader -
               Some of the Uighur detainees held at Gitmo have confirmed that they changed names upon their arrival      longwarjournal.org/archives/2020/…

               in Afghanistan.

               Two witnesses at Mahnut’s CSRT confirmed Abdul Haq’s role in running the Tora Bora camp. One of
               Mahnut’s fellow Uighur detainees, Saidullah Khalik, admitted he was captured with Mahnut and that he      Embed                             View on Twitter
               received weapons training. When Khalik was asked who ran the camp, he responded: “Abdul Haq.”

               Another Uighur detainee held at Gitmo, Hajiakbar Abdulghupur, also testified as a witness at Mahnut’s
               tribunal. Abdulghupur was captured with Mahnut and Khalik and identified the head of the Tora Bora
               camp as “Abdul Haq.”

               During his own CSRT hearing, Abdulghupur admitted he was trained at the Tora Bora camp, but said the
               American-led bombing campaign sent the Uighurs scrambling for refuge. In a Q&A session with one of
               the tribunal members overseeing his CSRT hearing, Abdulghupur explained that he and his fellow
               Uighur detainees awaited Abdul Haq’s instructions.

                  “[Abdulghupur]: We didn’t have any leaders or anyone to lead us. When we were in the cave we
                  were waiting for someone to come up the mountains and lead us to the city or tell us what we
                  should do. That’s why we were waiting.

                  [Tribunal Member]: So your use of the word leaders at that time meant a guide to take you to
                  Pakistan?

                  Abdulghupur: We were waiting for Abdul Haq, he was in charge of the group. We were waiting for
                  him to come up to give orders or take us somewhere else. That’s what I mean. (emphasis added)

                  Tribunal Member: He was in charge of the training camp?

                  Abdulghupur: Yes, he was the one responsible for the camp.”


               Uighur detainee Akhdar Qasem Basit admitted training at Tora Bora during his CSRT at Gitmo. Basit,
               who was transferred from Gitmo to Albania in 2006, says he went to Kyrgyzstan in 2001 to do “some
               small business” and then a friend told him he should go to Afghanistan. During his CSRT session, Basit
               said that Abdul Haq (or another individual) may have been his contact in Jalalabad en route to Tora
               Bora. Basit explained:




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                                                                                                                        (//WWW.FDD.ORG/EVENTS/2019/05/06/RI
                  “Q: When you were in Jalalabad did you spend the night and, if so, with whom?
                                                                                                                        TO-THE-THREAT-REVITALIZING-
                  A: It has been a while. I cannot remember. When I got to Afghanistan, I made a phone call and a       AMERICAS-MILITARY-AND-
                  person came and picked me up.                                                                         POLITICAL-POWER/)
                  Q: Did that person take you to that camp at Tora Bora?

                  A: I cannot remember. One person took me to Jalalabad and then two people took me to Tora
                  Bora.

                  Q: Do you know any of their names?

                  A: I do not remember. I did tell the interrogators one of them is maybe Abdul Wares (ph.) or
                  Abdul Haq.”


               While Basit may have had difficulty remembering the name of his contact, a current Uighur detainee,
               Ahmed Mohamed, had no trouble naming Abdul Haq. During his CSRT hearing, Mohamed named Haq
               twice:

                  “Tribunal Member: Do you know who ran the camp?

                  Mohamed: A person named Abdul Haq.

                  Tribunal Member: Who provided the training at the camp Abdul Haq or whom?

                  Mohamed: Abdul Haq would train sometimes but there was another guy who did all the training
                  but he got killed from the first bomb.”


               The other “guy” Mohamed mentioned is likely Hassan Mahsum. Mahsum was killed by Pakistani forces
               in Waziristan in 2003. But prior to his departure from this world, Mahsum reportedly mingled with a
               Who’s Who of both the Taliban and al Qaeda and brokered deals to allow the ETIP/ETIM to operate in
               pre-9/11 Afghanistan.

               Uighur detainee Hozaifa Parhat discussed Abdul Haq and Hassan Mahsum during his CSRT hearing at
               Gitmo. Parhat left China for Afghanistan in May 2001, and then trained and lived at the Tora Bora camp
               for several months. During his CSRT testimony, Parhat had the following exchange with one of his
               tribunal members.

                  “Tribunal Member: There is an important gentleman in the Uighur community by the name of
                  Hassan Mahsum; do you know who this man is?
                                                                                                                        (//WWW.LONGWARJOURNAL.ORG/WP-
                  Parhat: Yes. I saw that person.                                                                       CONTENT/UPLOADS/2019/03/FOREIGNPO
                                                                                                                        E1552060918112.JPG)
                  Tribunal Member: Who is he, please?

                  Parhat: He is a Turkistani person. [Note: As the DOD transcript notes, the Uighurs frequently
                  refer to themselves as “Turkistani.” ]

                  Tribunal Member: Is he the leader of your Uighur group?

                  Parhat: Yes.

                  Tribunal Member: Would he give the Uighurs in the camp guidance and instruction on what to
                  do?

                  Parhat: Maybe he would do that and there was another person and he was the leader of the camp
                  guiding all the people. I saw this person twice at the camp. I forgot the leader name.

                  Tribunal Member: Would that be Mr. Abdul Haq?

                  Parhat: Yes.

                  Tribunal Member: We heard this name from the other Uighur people.

                  Parhat: I told that to the interrogators.”




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               Uighur detainee Yusef Abbas admitted during his CSRT hearing that he was personally trained by
               Hassan Mahsum. Abbas did not deny that he lived and trained at the Tora Bora camp, but claims he did
               not know the name of the Tora Bora Mountains until he learned it from his interrogators. Similarly,
               other Uighur detainees professed their ignorance when it came to name of the location of the
               ETIP/ETIM camp. The transcription of Abbas’s CSRT session spells Mahsum’s name as “Maxum,” but
               this is most likely a phonetic misspelling.

                  “Tribunal President: Who trained you on the Kalashnikov rifle?

                  Abbas: The person’s name was Abdul Maxum.

                  Tribunal Present: Was Abdul Maxum a Uighur?

                  Abbas: Yes.”


               Abdul Hehim, who was transferred to Albania in 2006, testified during the CSRT for his fellow Uighur
               detainee Abdul Ghappar Abdul Rahman. Hehim denied knowing anything about Ghappar’s training, but
               admitted that he was trained by Mahsum. [Note: Again, Mahsum’s name was was misspelled in the
               DOD’s transcript.]

                  “Q: Did you see Abdul Ghappar receive any kind of military or weapon training?

                  A: There was a guy named Abdul Mahsen, he was the one that trained me on the Kalashnikov. I
                  don’t know who gave Abdul Ghappar the weapons training. I never seen (sic) him have weapons
                  or military training.”


               Like Abbas and Hehim, Abdullah Abdulqadirakhun admitted during his CSRT that he was trained by
               Mahsum at the Tora Bora camp. In addition, he explained that Abdul Haq was the man in charge.

                  “Tribunal Member: In the camp where you got training on the gun, who was your instructor?

                  Abdullah: His name was Hassan Mahsum. He was killed by the bombing. He is the one who
                  trained me. [Note: Mahsum was not killed during the bombing of Tora Bora, but later in 2003,
                  after his escape to Pakistan.]

                  Tribunal Member: He was a Uighur also?

                  Abdullah: Yes.

                  Tribunal Member: Who was over all in charge of the camp? Was it any particular group or
                  organization that was responsible for the camp?

                  Abdullah: There was a guy Abdul Haq, he was the one [in charge] over all the guests at the camp.
                  He would tell us to do this and do that, but I did not know if there was another organization that
                  was in charge of the camp. I don’t know.” (emphasis added)


               During another CSRT session, Uighur detainee Emam Abdulahat also testified that Abdul Haq managed
               the Tora Bora camp.

                  “Tribunal Member: Where was the camp located?

                  Abdulahat: The camp was just outside Jalalabad, it was located in the foothills of the mountains,
                  by some housing area.

                  Tribunal Member: Do you know who managed the camp?

                  Abdulahat: Abdul Haq.”


               It is clear that Abdul Haq, who has now been designated by both the US and the UN, ran the
               ETIP/ETIM’s Tora Bora camp. A number of current Uighur detainees have admitted as much.

               Haq’s ties to the Uighur detainees are disconcerting, to say the least. The Treasury Department notes
               that Haq is a member of al Qaeda’s Shura Council – a position reserved for only key terrorists with close
               ties to the terror organization. Haq’s active plotting raises additional red flags.


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               The Turkistan
               Islamic Party
               threatened to
                 attack the
                   2008
                  Olympic
                 Games in
                  Beijing,
                   China.

               “Abdul Haq commands a terror group that sought to sow violence and fracture international unity at the
               2008 Olympic Games in China,” Stuart Levey, Treasury Under Secretary for Terrorism and Financial
               Intelligence, was quoted as saying in the Treasury Department’s press release. Levey was likely citing a
               video made by Abdul Haq’s group last year. In the video, an associate of Abdul Haq, or perhaps Haq
               himself, is seen standing in front of al Qaeda’s black flag while issuing threats against civilians and
               Chinese personnel attending the 2008 Olympic games.

               The Treasury Department explains: “Under Haq, trained terrorists planned to sabotage the Olympic
               Games by conducting terrorist attacks within China before the Olympics began.”

               A recent video released by the ETIP, and transcribed by the NEFA Foundation
               (//www.nefafoundation.org/miscellaneous/FeaturedDocs/nefatip0409-4.pdf), drives home the threat
               posed by the group. Abdul Haq tells viewers that his organization survived the death of its previous
               leader, Hassan Mahsum. And the ETIP will not stop its pursuit of violent jihad. Haq explained:

                  We are, Allah-willing, proceeding along this path with all of our strength in order to rescue our
                  oppressed brothers in East Turkistan – and Allah-willing, we are working on rescuing our
                  oppressed brothers from the hands of the Communists until we make Allah’s religion
                  supreme and we live a precious life in the shadow of Islamic Shariah law, or else be rewarded with
                  martyrdom in the cause of Allah We are plotting for the Chinese to suffer the torture of Allah, or
                  else by our hands


               In sum, Abdul Haq is not some noble freedom fighter who is simply opposed to China’s oppressive
               regime. Haq is a violent jihadist who shares al Qaeda’s ideology, maintains operational ties to the
               organization as a member of its Shura Council, and seeks the creation of a radical Islamist state
               throughout Central and South Asia.

               As Undersecretary Levey explained in the Treasury Department’s press release, “Today, we stand
               together with the world in condemning this brutal terrorist and isolating him from the international
               financial system.”

               As the Treasury Department attempts to isolate Abdul Haq, the Obama administration debates what to
               do with a cadre of his trainees who are currently imprisoned at Gitmo.

               And Abdul Haq continues to plot terror.


               Thomas Joscelyn is a Senior Fellow at the Foundation for Defense of Democracies and the Senior
               Editor for FDD's Long War Journal.

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